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                                                  UNITED STATES DISTRICT COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                               G LA   G RS   G
                                                                                       ✔ SA           G UNDER SEAL
                                                          PLAINTIFF      CASE NUMBER: SA CR 17-0158-DOC
                                                                         G COMPLAINT            ✔ INFORMATION
                                                                                                G
                                                                         G INDICTMENT           G CLASS B MISDEMEANOR
                                   v.                                    G SUMMONS              G OUT OF DISTRICT AFFIDAVIT
MINA KOLTA, AKA MATT KOLTA,                                              G PSA/ G PO WARRANT G EXTRADITION
                                                                         G PREVIOUSLY CALENDARED HOSPITALIZED DEFENDANT
                                                                         FILED:       11/14/17         VIOLATION:      18 U.S.C. § 1001
                                                       DEFENDANT.
                                                                         DATE:       11/30/17                  TIME:        7:30 AM
                                                                         Court Reporter: Debbie Gale

 PROCEEDINGS HELD BEFORE UNITED STATES                                                CALENDAR/PROCEEDINGS SHEET
 DISTRICT JUDGE David O. Carter                                                        LOCAL/OUT-OF-DISTRICT CASE

PRESENT:         Deborah Lewman                             Mark Aveis/Paul Stern                               N/A
                    Deputy Clerk                               Assistant U.S. Attorney                           Interpreter / Language

      INITIAL APPEARANCE NOT HELD-CONTINUED
✔     Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
      ✔ preliminary hearing OR     removal hearing / Rule 20.
✔     Defendant states true name ✔ is as charged    is
      Defendant advised of consequences of false statement in financial affidavit.       Financial Affidavit ordered SEALED
✔     Attorney: Michael Nasatir                             ✔ Retd.    Apptd. Prev. Apptd.          DFPD      Panel    Poss. Contribution
      Ordered (see separate order)         Special appearance by:
      Government’s request for detention is: GRANTED                  DENIED             WITHDRAWN              CONTINUED
      Defendant is ordered: Permanently Detained                      Temporarily Detained (see separate order)
✔     BAIL FIXED AT $ 5,000.00                             (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
      Government moves to UNSEAL Complaint/Indictment/Information/Entire Case:                     GRANTED          DENIED
      Preliminary Hearing waived.
      Class B Misdemeanor                  Defendant is advised of maximum penalties
      This case is assigned to Magistrate Judge                                        . Counsel are directed to contact the clerk for the setting
      of all further proceedings.
      PO/PSA WARRANT                       Counsel are directed to contact the clerk for District Judge                                 for the
      setting of further proceedings.
      Preliminary Hearing set for                                          at             4:30 PM             in          LA
✔     Post-Indictment Arraignment set for: 11/30/17                        at             7:30 AM             in      Santa Ana
      Government’s motion to dismiss case/defendant                                              only:     GRANTED            DENIED
      Defendant’s motion to dismiss for lack of probable cause: GRANTED                  DENIED
      Defendant executed Waiver of Rights.          Process received.
      Court ORDERS defendant Held to Answer to                                         District of
           Bond to transfer, if bail is posted. Defendant to report on or before
           Warrant of removal and final commitment to issue. Date issued:                              By:
                                                                                                                    Deputy Clerk
        Warrant of removal and final commitment are ordered stayed until                                                   .
      Case continued to (Date)                                (Time)                  AM / PM
      Type of Hearing:                                        Before Judge                               /Duty Magistrate Judge.
      Proceedings will be held in the Duty Courtroom                                      Judge’s Courtroom
      Defendant committed to the custody of the U.S. Marshal    Summons: Defendant ordered to report to USM for processing.
      Abstract of Court Proceeding (CR-53) issued. Copy forwarded to USM.
      Abstract of Order to Return Defendant to Court on Next Court Day (M-20) issued. Original forwarded to USM.
      RELEASE ORDER NO:
✔     Other: Defendant self surrendered.
                             ✔
                               PSA                      FINANCIAL                         READY
cc:     USPO                                                                                             Deputy Clerk Initials djl
 *See separate PIA minutes.                                                                                                : 10
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